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5
6                            UNITED STATES DISTRICT COURT
7                                    DISTRICT OF ARIZONA
8
      C.M., on her own behalf and on behalf of her        No. 2:19-cv-05217-SRB
9
      minor child, B.M.; L.G., on her own behalf and
10    on behalf of her minor child, B.G.; M.R., on her
      own behalf and on behalf of her minor child,
11    J.R.; O.A., on her own behalf and on behalf of
12    her minor child, L.A.; and V.C., on her own
      behalf and on behalf of her minor child, G.A.,
13                                                        ORDER
14                         Plaintiffs,

15                  v.
16
      United States of America,
17
                           Defendant.
18
19          Upon consideration of Plaintiffs’ Motion for Leave to Seal Supplements to Exhibits
20   and Unredacted Plaintiffs’ Reply in Further Support of Their Motion for Partial Summary
21   Judgment,
22          IT IS HEREBY ORDERED that Plaintiffs’ Motion to Seal is GRANTED and the
23   Court Orders the Clerk to file under seal:
24
                 1. The unredacted Plaintiffs’ Reply in Further Support of Their Motion for
25
                    Partial Summary Judgment (Attachment A to the Motion to Seal); and
26
27
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     Case 2:19-cv-05217-SRB Document 425 Filed 05/30/23 Page 2 of 2



1      2. The Supplements to Exhibits (Attachments C, D, and E to the Motion to
2         Seal).
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                            Dated this 30th day of May, 2023.
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